Case 5:24-cv-00029-RWS-JBB           Document 5        Filed 05/28/24      Page 1 of 1 PageID #: 20




                                   UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION

         ORR AUTO, INC.                    §
         D/B/A ORR VOLKSWAGEN OF TEXARKANA §
         Plaintiff,                        §
                                           §
         V.                                §                           CASE NO. 5:24-CV-00029
                                           §
         AUTOPLEX EXTENDED SERVICES, LLC   §
         D/B/A MOTOR VEHICLE SERVICES      §
         Defendant.                        §


                                       PROOF OF SERVICE



         Plaintiff Orr Auto, Inc. d/b/a Orr Volkswagen of Texarkana files this its Proof of Service in

  accordance with Federal Rule of Civil Procedure 4(l)1.

  Exhibits attached.

         1.      Summons in a Civil Action with executed proof of service;

         2.      Proof of service completed by Brianna R. Anderson – 4/9/2024; and

         3.      Copy of certified mail sent to Texas Secretary of State – 5/1/2024, received
                 5/6/2024.


                                                       Respectfully submitted,

                                                       FLOYD LAW, PLLC
                                                       P. O. Box 5452
                                                       Texarkana, Texas 75505
                                                       Phone: (903) 306-0373
                                                       FAX: (870) 330-4196

                                                       By:     /s/ Cory Floyd
                                                               Cory J. Floyd
                                                               TX Bar No. 24049365
                                                               Email: cory@txklawyers.com
